      Case 4:22-cv-01431 Document 14 Filed on 07/15/22 in TXSD Page 1 of 4




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 ALL ABOUT PROPERTY, LLC,                         §
                                                  §
        Plaintiff,                                §
                                                  §
 v.                                               §
                                                  §
 COUNTRYWIDE HOME LOANS,                          §      CIVIL ACTION NO. 4:22-cv-01431
 INC.; BANK OF AMERICA, N.A.;                     §
 FEDERAL NATIONAL MORTGAGE                        §
 ASSOCIATION; CARRINGTON                          §
 MORTGAGE SERVICES, LLC; AND                      §
 MORTGAGE ELECTRONIC                              §
 REGISTRATION SYSTEMS, INC.                       §
                                                  §
         Defendants.                              §


                              JOINT REPORT TO THE COURT


       Comes Now Plaintiff, All About Property, LLC (“Plaintiff”), and Defendants,

Countrywide Home Loans, Inc., Bank of America, N.A., Carrington Mortgage Services, LLC, and

Mortgage Electronic Registration Systems, Inc. (together the “Defendants”), (all together the

“Parties”), and file this joint report to the court, and would show the court:

       The court ordered the Parties to exchange written discovery by July 1, 2022 and to file a

joint report to the court reporting “the status of the case and concrete and detailed steps to advance

the litigation.” Dkt. #12.

       Carrington Mortgage Services, LLC and Mortgage Electronic Registration Systems, Inc.

asked for and received an extension to produce discovery. Carrington Mortgage Services, LLC

and Mortgage Electronic Registration Systems, Inc. produced discovery on July 8, 2022.




                                               1 of 4
       Case 4:22-cv-01431 Document 14 Filed on 07/15/22 in TXSD Page 2 of 4




        Countrywide Home Loans, Inc. and Bank of America, N.A. asked for and received an

extension to produce discovery. Countrywide Home Loans, Inc. and Bank of America, N.A. have

indicated they will produced discovery on July 15, 2022, the same day as the joint status report is

due.

        The Parties agree that it is not possible at this time to report “concrete and detailed steps to

advance the litigation.” The reason for this is that the Plaintiff has not had sufficient time to review

the discovery responses.

        Therefore, the Parties request an extension of at least 14 days to file a joint report on “the

status of the case and concrete and detailed steps to advance the litigation.”


                                                         Respectfully submitted,

                                                         JEFFREY JACKSON & ASSOCIATES, PLLC

                                                         /s/    Jeffrey C. Jackson
                                                         JEFFREY C. JACKSON
                                                         Texas State Bar No. 24065485
                                                         Federal Admission No. 1024221
                                                         2500 E. TC Jester Boulevard, Suite 285
                                                         Houston, Texas 77008
                                                         713-861-8833 (T)
                                                         713-682-8866 (F)
                                                         jeff@jjacksonllp.com
                                                         ATTORNEY FOR PLAINTIFF
                                                         ALL ABOUT PROPERTY, LLC


                                                          BRADLEY ARANT BOULT CUMMINGS LLP

                                                          By: /s/ Melissa Gutierrez Alonso
                                                          JON H. PATTERSON
                                                          Texas Bar No. 24077588
                                                          jpatterson@bradley.com
                                                          Bradley Arant Boult Cummings LLP
                                                          1819 Fifth Avenue North
                                                          Birmingham, Alabama 35203-2104
                                                          Telephone: (205) 521-8403

                                                2 of 4
Case 4:22-cv-01431 Document 14 Filed on 07/15/22 in TXSD Page 3 of 4




                                        Fax:(205) 488-6403
                                        MELISSA GUTIERREZ ALONSO
                                        Texas Bar No. 24087648
                                        malonso@bradley.com
                                        600 Travis Street, Suite 4800
                                        Houston, Texas 77002
                                        (713) 576-0300 Telephone
                                        (713) 576-0301 Telecopier
                                        Attorneys for Defendants Carrington
                                        Mortgage Services, LLC and Mortgage
                                        Electronic Registration Systems, Inc.


                                        MCGUIRE WOODS LLP

                                        /s/ Taylor W. Meek
                                        TAYLOR W. MEEK, SBN: 24100197
                                        tmeek@mcguirewoods.com
                                        McGuireWoods LLP
                                        2000 McKinney Avenue, Suite 1400
                                        Dallas, TX 75201
                                        Telephone: 214 932 6400
                                        Facsimile: 214 932 6499
                                        Attorney for Defendants Countrywide
                                        Home Loans, Inc. and Bank of America,
                                        N.A.




                               3 of 4
     Case 4:22-cv-01431 Document 14 Filed on 07/15/22 in TXSD Page 4 of 4




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Notice was served, via the
Court’s CM/ECF System, USPS Certified Mail, Return Receipt Requested, Facsimile
Transmission, and/or E-Mail to all counsel and parties of record on this 15th day of July, 2022.

       Taylor W. Meek
       MCGUIREWOODS LLP
       2000 McKinney Avenue, Suite 1400
       Dallas, Texas 75201
       214-932-6400 (T)
       214-932-6499 (F)
       tmeek@mcguirewoods.com
               Attorney for Defendants Countrywide Home Loans, Inc. and Bank of America, N.A.

       Jon H. Patterson
       BRADLEY ARANT BOULT CUMMINGS LLP
       1819 Fifth Avenue North
       Birmingham, Alabama 35203-2104
       205-521-8403 (T)
       205-488-6403 (F)
       jpatterson@bradley.com

       Melissa Gutierrez Alonso
       mgutierrez@bradley.com
       Gabriella Alonso
       galonso@bradley.com
       BRADLEY ARANT BOULT CUMMINGS LLP
       600 Travis Street, Suite 4800
       Houston, Texas 77002
       713-576-0300 (T)
       713-576-0301 (F)
              Attorneys for Defendants Carrington Mortgage Services, LLC and Mortgage
              Electronic Registration Systems, Inc.



                                                      /s/ Jeffrey C. Jackson
                                                      JEFFREY C. JACKSON




                                             4 of 4
